                                         Case 5:22-cv-00789-JWH-SHK Document 23 Filed 05/27/22 Page 1 of 3 Page ID #:290



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                                                          6   Attorneys for Plaintiffs Ross Cornell and
                                                              Bryan Estrada
                                                          7

                                                          8                        UNITED STATES DISTRICT COURT
                                                          9                      CENTRAL DISTRICT OF CALIFORNIA
                                                         10

                                                         11   Ross Cornell, an individual, and Bryan          Case No. 5:22-cv-00789 JWH (SHKx)
                                                              Estrada, an individual;
                    3 HUTTON CENTRE DRIVE, NINTH FLOOR




                                                         12                                                   [Assigned to Hon. John W. Holcomb]
                       A PROFESSIONAL LAW CORPORATION
CALLAHAN & BLAINE

                         SANTA ANA, CALIFORNIA 92707




                                                                                 Plaintiffs,
                          TELEPHONE: (714) 241 -4444
                           WWW. CAL LA HA N-LA W. CO M




                                                         13                                                   NOTICE OF ERRATA TO MOTION
                                                                    v.                                        FOR PRELIMINARY INJUNCTION
                                                         14                                                   [DOCKET NUMBER 22]
                                                              Office of the District Attorney, County
                                                         15   of Riverside, and Does 1-100,                   Date: June 24, 2022
                                                              inclusive;                                      Time: 9:00 a.m.
                                                         16                                                   Courtroom: 9D
                                                                                 Defendants.
                                                         17                                                   Action Filed: May 9, 2022
                                                                                                              Trial Date: None set
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                                                                  NOTICE OF ERRATA TO MOTION FOR PRELIMINARY INJUNCTION [DOCKET NUMBER 22]
                                         Case 5:22-cv-00789-JWH-SHK Document 23 Filed 05/27/22 Page 2 of 3 Page ID #:291



                                                          1         PLEASE TAKE NOTICE that the Motion for Preliminary Injunction (Dkt.
                                                          2   No. 22), filed and served on May 27, 2022, was inadvertently entered for the
                                                          3   incorrect judge in the PACER system only. All of the captions on the motion
                                                          4   papers, however, listed the correct judge and department.
                                                          5         For the sake of clarity – as listed on the captions of the motion papers – the
                                                          6   Motion for Preliminary Injunction is scheduled to be heard before the Honorable
                                                          7   John W. Holcomb in Courtroom 9D on June 24, 2022 at 9:00 a.m., not in Judge
                                                          8   Cynthia Holcomb Hall’s courtroom as reflected in the docket text based on the
                                                          9   erroneous PACER entry.
                                                         10

                                                         11
                                                              Dated: May 27, 2022                   CALLAHAN & BLAINE, APLC
                    3 HUTTON CENTRE DRIVE, NINTH FLOOR




                                                         12                                         By: /s/ Gaurav K. Reddy
                       A PROFESSIONAL LAW CORPORATION
CALLAHAN & BLAINE




                                                                                                        Gaurav K. Reddy
                         SANTA ANA, CALIFORNIA 92707
                          TELEPHONE: (714) 241 -4444
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                                                         13                                             Attorney for Plaintiffs Ross Cornell and
                                                                                                        Bryan Estrada Attorneys for Plaintiffs
                                                         14                                             Ross Cornell and Bryan Estrada

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                                                                  NOTICE OF ERRATA TO MOTION FOR PRELIMINARY INJUNCTION [DOCKET NUMBER 22]
                                         Case 5:22-cv-00789-JWH-SHK Document 23 Filed 05/27/22 Page 3 of 3 Page ID #:292



                                                          1                             CERTIFICATE OF SERVICE
                                                          2                                        [FRCP 5(B)]
                                                          3          Ross Cornell v. Office of the District Attorney, County of Riverside
                                                                      USDC, Western Division, Case No.: 5:22-cv-00789 JWH (SHKx)
                                                          4

                                                          5          I am employed in the County of Orange, State of California. I am over the
                                                          6   age of 18 years and am not a party to the within action; my business address is 3
                                                          7   Hutton Centre Drive, Ninth Floor, Santa Ana, California 92707. My email address
                                                          8   is cgallardo@callahan-law.com
                                                          9          On May 27, 2022, I served the following document(s) described as NOTICE
                                                         10   OF ERRATA TO MOTION AND MOTION FOR PRELIMINARY
                                                         11   INJUNCTION [DOCKET NUMBER 22] on the interested parties in this action
                    3 HUTTON CENTRE DRIVE, NINTH FLOOR




                                                         12   by placing: ☐ the original ☒ a true copy to the following e-mail addresses as
                       A PROFESSIONAL LAW CORPORATION
CALLAHAN & BLAINE

                         SANTA ANA, CALIFORNIA 92707
                          TELEPHONE: (714) 241 -4444
                           WWW. CAL LA HA N-LA W. CO M




                                                         13 follows:
                                                         14 Riverside County District Attorney                Attorneys for Defendant, Office of the
                                                            Timothy S. Brown, Esq.                            District Attorney, County of Riverside
                                                         15 3960  Orange Street
                                                            Riverside, CA 92501
                                                         16 Telephone:  (951) 955-5400
                                                            Email: TimothyBrown@rivcoda.org
                                                         17

                                                         18    ☒     BY EMAIL: My electronic service address is cgallardo@callahan_law.com.
                                                         19          I transmitted the foregoing documents by electronic mail to the party(s)
                                                         20          identified on the attached service list by using the electronic mail as indicated.
                                                         21          Said electronic mail was verified as complete and without error.
                                                         22          I declare that I am employed in the office of a member of the bar of this court
                                                         23   at whose direction the service was made. I declare under penalty of perjury under
                                                         24   the laws of the United States of America and the State of California that the
                                                         25   foregoing is true and correct.
                                                         26          Executed on May 27, 2022, at Santa Ana, California.
                                                         27
                                                                                               /s/ Carina Gallardo
                                                         28                                                Carina Gallardo
                                                                                                       -3-
                                                                   NOTICE OF ERRATA TO MOTION FOR PRELIMINARY INJUNCTION [DOCKET NUMBER 22]
